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                                 No. 23-10362

IN THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                         Plaintiffs-Appellees,

                                       v.

U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
      and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                                Defendants-Appellants,

                        DANCO LABORATORIES, L.L.C.,
                                          Intervenor-Appellant


                On Appeal from the United States District Court
                      for the Northern District of Texas

 UNOPPOSED MOTION OF LOCAL GOVERNMENTS TO FILE BRIEF AS
         AMICI CURIAE IN SUPPORT OF APPELLANTS
               AND INTERVENOR-APPELLANT


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           CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following

listed persons and entities as described in the fourth sentence of Rule

28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this court may

evaluate possible disqualification or recusal.

Plaintiffs-Appellees:

     Alliance for Hippocratic Medicine

     American Association of Pro-Life Obstetricians &

     Gynecologists American College of Pediatricians

      Christian Medical & Dental Associations

      Shaun Jester, D.O.

     Regina Frost-Clark, M.D.

     Tyler Johnson, D.O.

     George Delgado, M.D.

Defendants-Appellants:

     U.S. Food and Drug Administration

     U.S. Department of Health and Human Services



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     Robert M. Califf, M.D., in his official capacity as
     Commissioner of Food and Drugs, U.S. Food and
     Drug Administration

     Janet Woodcock, M.D., in her official capacity as
     Principal Deputy Commissioner, U.S. Food and
     Drug Administration

     Patrizia Cavazzoni, M.D., in her official capacity as Director,
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     Cities, counties, and local governmental entities from across the

country move this Court for leave to file the enclosed brief as amici curiae

in support of the Government’s and Intervenor’s appeal of the district

court’s April 7, 2023 order staying the effective date of the U.S. Food and

Drug Administration’s September 28, 2000 approval of mifepristone. The

brief includes material that is “relevant to the disposition” of the stay

applications, and which would be “desirable” for the Court to consider.

Fed. R. App. P. 29(a)(3)(B).

     The brief explains the devastating forthcoming impacts of the order

in amici’s jurisdictions, including major health and economic costs as well

as an extraordinary strain on public health and emergency medical

systems. The brief also explains how the order below will be challenging

to implement both because it is an immediate and widespread change

and because it conflicts with another federal district court order. At a

minimum, the district court’s decision creates significant confusion in

amici’s jurisdictions.

     The brief argues that the district court’s opinion upends precedent

governing Article III standing and the preliminary injunction standard.

The brief also argues that the decision’s errors include overlooking many

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procedural infirmities in the plaintiffs’ lawsuit and providing a remedy

that upends the status quo rather than preserving it.

     Although all parties have consented to this filing of the proposed

amici curiae brief, the Court on April 19, 2023 directed all amici to “seek

leave before filing an amicus brief.” Amici Local Governments therefore

respectfully move for leave to file. The proposed brief complies with the

type-volume limitations for an amicus brief on a motion because it uses

fewer than 6,500 words permitted for a motion or response. See Fed. R.

App. P. 27(d)(2(A); id. 29(a)(5).

                                    CONCLUSION

     The Court should grant amici curiae local governments leave to file

the enclosed brief in support of the appeals of the Government and

Intervenor-Appellant Danco Laboratories.




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                                  Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     Pursuant to Rules 27 and 32 of the Federal Rules of Appellate

Procedure, Joshua Rosenthal, an attorney for Public Rights Project,

hereby certifies that according to the word count feature of the word

processing program used to prepare this document, the document

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Dated: May 1, 2023




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                       CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing document was filed

electronically with the Court’s CM/ECF system on May 1, 2023. Service

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parties and counsel of record.


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                                      No. 23-10362


IN THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT


  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                         Plaintiffs-Appellees,

                                             v.

U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
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           Secretary, U.S. Department of Health and Human Services,
                                                Defendants-Appellants,

                          DANCO LABORATORIES, L.L.C.,
                                            Intervenor-Appellant


     On Appeal from the United States District Court for the Northern District of Texas,
       Amarillo Division, Case No. 2:22-cv-00223-Z, Judge Matthew J. Kacsmaryk
                                      ___________

 BRIEF OF LOCAL GOVERNMENTS AS AMICI CURIAE IN SUPPORT OF
           APPELLANTS AND INTERVENOR-APPELLANT

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                       STATEMENT OF INTEREST

     Over the last two decades, the Food and Drug Administration has

reviewed robust scientific evidence and determined that mifepristone is

safe and effective under the approved conditions of use. Since its

approval, mifepristone has provided meaningful therapeutic benefits

over other treatments. It has been used for miscarriage management and

the treatment of other maternal health conditions, and more than five

million pregnant people in the United States have used mifepristone and

a companion medication, misoprostol, to safely terminate early

pregnancies. The district court’s order runs counter to decades of clear

scientific evidence and would upend legal precedent and the status quo.

The order will disrupt essential healthcare across the United States,

including in amici’s jurisdictions, since mifepristone has legal uses in

every state.

     Amici are cities, counties, local government leaders, and public

entities from across the country.1 We file this brief to highlight the shared


1 No counsel for a party authored this brief in whole or in part, and no
party or counsel for a party made a monetary contribution intended to
fund its preparation or submission. No person other than Amici or
Amici’s counsel made a monetary contribution to the preparation or
submission of this brief. A list of all Amici is available at Appendix A.

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interest and responsibility of local governments in protecting the health

and safety of our diverse populations, including preserving access to

essential healthcare such as reproductive healthcare. Some amici are

large cities administering public health systems that depend on the

availability of healthcare, including access to mifepristone. Other amici

are smaller cities, counties, and other public entities, including some in

remote and difficult to access parts of our country. All amici represent

populations that are low-income and medically underserved.

     Without access to mifepristone, all amici will bear heightened

health and economic costs. Restrictions on this medication will

overburden health systems; access to this safe medicine does not.

Pregnant people who are unable to access mifepristone will have worse

outcomes. If denied access to mifepristone, pregnant people will undergo

invasive procedural abortion, delay abortion care, terminate their

pregnancies using alternative means that present additional risks or side

effects or complications, or may be forced to carry unwanted or unviable

pregnancies to term against their will. Others, who would rely on

mifepristone for treating miscarriages, or for the treatment of other

pregnancy or health complications, will instead be forced to endure more



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pain, bleeding, or even life-threatening hemorrhaging at an already

devastating and terrifying time.

     In all instances, there will be grave consequences for amici. With

an increase in procedural abortions, clinics will become even more

overwhelmed with individuals traveling to access care. Abortions that

are performed later in pregnancy also increase cost and risk. And

medication abortions that are performed without mifepristone carry

increased risk of side effects, harming amici’s residents and increasing

the strain on local governments.

     What is more, the decision below is at odds with bedrock precedent

governing Article III standing and the preliminary injunction standard,

and threatens to undermine amici’s trust in the federal court system.

Putting aside the facts of the case, which are in and of themselves

consequential, amici fear significant disruption to litigation across the

country if the reasoning on these issues is allowed to stand.

                       SUMMARY OF ARGUMENT

     Just nine months ago, the U.S. Supreme Court overruled 50 years

of precedent to “return the issue of abortion to the people’s elected

representatives.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228,



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2243 (2022). Amici local government leaders and entities do not agree

with the conclusion in Dobbs but take the decision’s words at face value.

Now, the ink barely dry, that admonition rings hollow as a result of the

decision below and the threat it poses to reproductive healthcare access

nationwide. In rewriting standing jurisprudence, overlooking other

procedural infirmities in plaintiffs’ lawsuit, and disregarding decades of

scientific research, the decision contains many grievous errors that

warrant reversal. The outcome is an overreach of judicial authority,

wrong as a matter of law, and clearly unjustified on the merits.2

     But even if the ruling below, as a matter of law, presented a closer

call, the specific context of this decision, coming nearly 23 years after

FDA approval of mifepristone, necessitates reversal. The supposed

limitations imposed by the stay panel are not modest either, and provide

further indication of the broad sweep and impacts of the decision below.


2 By amici’s count, the district court’s decision included at least seven
clear errors of law. Among other things, plaintiffs lack standing (injury
in fact, causation, and redressability), the claims are time-barred,
plaintiffs failed to administratively exhaust, the FDA’s decision was
legally sound, a preliminary injunction is not warranted because of
plaintiffs’ delay, and—given the FDA’s specific authority to unwind
approval through its own processes—the remedy is wrong under federal
law. Any of these would be sufficient for reversal. The stay panel made
similar errors, particularly on standing.

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As the government has explained, existing doses of mifepristone would

immediately become misbranded, the generic version of the drug would

cease to be approved, and the branded version could not be marketed

until FDA and the sponsor sort through the current uncertainty. Gov. Br.

at 2-3. Not to mention the fact that the FDA is currently subject to a

conflicting injunction given a separate ruling in Washington. Thus, for

the reasons that follow and for the reasons provided by Appellants and

Intervenor, the district court’s order should be reversed.

                              ARGUMENT

     The standard for granting a preliminary injunction or a stay under

5 U.S.C. § 705 is “the same.” Cronin v. USDA, 919 F.2d 439, 446 (7th Cir.

1990). This Court “review[s] a preliminary injunction for abuse of

discretion, reviewing findings of fact for clear error and conclusions of law

de novo.” Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 573

(5th Cir. 2013). “When a district court applies incorrect legal principles,

it abuses its discretion.” Planned Parenthood of Greater Tex. Family

Planning & Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347,

354 (5th Cir. 2020) (en banc).




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      To obtain a preliminary injunction, “a movant must establish (1) a

likelihood of success on the merits; (2) a substantial threat of irreparable

injury; (3) that the threatened injury if the injunction is denied outweighs

any harm that will result if the injunction is granted; and (4) that the

grant of an injunction will not disserve the public interest.” Ladd v.

Livingston, 777 F.3d 286, 288 (5th Cir. 2015) (quoting Trottie v.

Livingston, 766 F.3d 450, 452 (5th Cir. 2014)). The district court clearly

erred in concluding that plaintiffs had met their burden on each factor.

      I.    PLAINTIFFS LACK ARTICLE III STANDING

      The district court abused its discretion and committed clear errors

of law by ignoring or misconstruing precedent, and by incorrectly

applying Article III’s requirements when it comes to injuries-in-fact,

causation, and redressability. Amici governments are concerned that

such a precedent, if affirmed, would enable actors with no direct

connection to the law or regulation to sue if they come into contact with

third parties affected in some way by said regulation.

            A.    Plaintiffs Have Not Suffered An Injury-In-Fact.

      The decision below failed to identify harm cognizable under Article

III for four distinct reasons.



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                  1.    Plaintiffs are not directly regulated by the
                        agency action at issue in the case.

      Plaintiffs lack standing because they are not directly regulated by

the agency action at issue. They do not administer or prescribe

mifepristone. By contrast, in other abortion-related litigation, the

providers (asserting the rights of their patients) are often subject to the

very criminal sanction being challenged. See, e.g., June Med. Services

L.L.C. v. Russo, 140 S. Ct. 2103, 2118–19 (2020), abrogated by Dobbs, 142

S. Ct. 2228 (The Supreme Court has “generally permitted plaintiffs to

assert third-party rights in cases where the enforcement of the

challenged restriction against the litigant would result indirectly in the

violation of third parties’ right.”) (internal citations omitted). Here, there

is   no   “threatened    imposition         of   governmental     sanctions     for

noncompliance.” Id. Nor do plaintiffs enjoy some type of connection to

their yet-to-be-ascertained patients, Kowalski v. Tesmer, 543 U.S. 125,

130-31 (2004), such that they are in privity with them or in some other

position to assert claims on their behalf. Any assertion of their patients’

rights, even if available to them, is illogical, because plaintiffs seek to

limit access to the drug those patients used to terminate a pregnancy.

Thus, the district court’s analysis erroneously ignored the principle that


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“the party seeking review be himself among the injured.” Lujan v. Defs.

of Wildlife, 504 U.S. 555, 563 (1992).

                 2.    Plaintiffs’ alleged future injuries are not
                       sufficiently imminent.

     Any future injury needed to warrant the issuance of an injunction

is not sufficiently imminent. This Court—duty-bound by Supreme Court

precedent—consistently denies standing where the alleged anticipated

injury has not been shown to be more than an uncertain eventuality. See,

e.g., Prestage Farms, Inc. v. Bd. of Sup’rs of Noxubee Cnty., Miss., 205

F.3d 265, 268 (5th Cir. 2000). (The injury “depends on the occurrence of

a number of uncertain events…future injury under these circumstances

is too conjectural and hypothetical to provide Article III standing.”).

“Allegations of only a possible future injury similarly will not suffice.”

Abdullah v. Paxton, --- F.4th ----, 2023 WL 2889273, at *2 (5th Cir. Apr.

11, 2023) (internal citations omitted). Put another way, plaintiffs rely too

much on the speculative and independent actions of third parties for their

supposed injuries to arise. See, e.g., Continental Automotive Systems, Inc.

v. Avanci, L.L.C., 27 F.4th 326, 332–33 (5th Cir. 2022).

     The district court failed to identify an injury with sufficient

imminence. Instead, it relied implicitly on probabilistic speculation that


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plaintiffs would be “overwhelm[ed]” and subject to “enormous pressure

and stress” because of patients experiencing complications from

mifepristone. ROA 4313. Based on this theory, Lujan itself requires

reversal.   There,     the   Supreme         Court      rejected   the   claims   of

environmentalists who had previously traveled to impacted regions (and

who intended to return) as “simply not enough. Such ‘some day’

intentions—without any description of concrete plans, or indeed even any

specification of when the some day will be—do not support a finding of

the ‘actual or imminent’ injury that our cases require.” 504 U.S. at 564.

     This Court has likewise made clear that “the concept of

probabilistic standing based on non-particularized increased risk” is not

recognized as an injury-in-fact. Shrimpers & Fishermen of RGV v. Texas

Comm’n on Env’t Quality, 968 F.3d 419, 424 (5th Cir. 2020) (quoting

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127

n.3 (2014)). There, association members failed to demonstrate an injury-

in-fact because they did not identify specific health risks directly tied to

a proposed natural gas liquefaction facility. Id. 3 Here, plaintiffs have



3Similarly, this Court concluded that health risks from possible COVID-
19 exposure in schools were not sufficiently imminent to warrant an


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offered that, because they have treated people with mifepristone

complications in the past, they will need to do so again in the future. That

is not enough for injunctive relief. Cf. City of Los Angeles v. Lyons, 461

U.S. 95, 101–102 (1983).

     Under the analysis of the district court, any parties would enjoy

Article III standing if they could conjure up some downstream effect

(however speculative) that might affect them at some point. Imagine, for

example, that a municipality exercises eminent domain over an

undeveloped parcel of land in order to build a public playground. The

property owner declines to bring a Fifth Amendment takings claim.

Nevertheless, a doctor who lives nearby—and opposes the construction of

a park near her home—files a lawsuit asserting an unconstitutional

taking. She asserts that she fears (1) the playground will lead to children

being injured; (2) those injured will seek care from her; and (3) she will

have to divert time and resources from other patients. That doctor’s




injury-in-fact. E.T. v. Paxton, 41 F.4th 709, 716 (5th Cir. 2022). While
acknowledging that imminence “is a somewhat elastic concept,” the court
concluded that “it ‘has been stretched beyond the breaking point where,
as here, the plaintiff alleges only an injury at some indefinite future
time.’” Id. (quoting Lujan, 504 U.S. at 564 n.2). That logic and conclusion
apply with equal force here.

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standing theory is indistinguishable from plaintiffs’ theory here. By

allowing such suits to proceed, the district court’s logic would not just

open the standing floodgates, it would eliminate them entirely.4

     The stay panel made the same mistake, and in so doing ran

headlong into clear Supreme Court precedent. The stay panel concluded

“these doctors quite reasonably know with statistical certainty . . . that

women will continue needing plaintiffs’ ‘emergency care.’” ROA 4394. To

start, plaintiffs cannot know this with “certainty.” And there is a specific

reason why the stay panel used “certainty” as opposed to “probability”:

precedent. In Summers v. Earth Island Institute, the Supreme Court

squarely rejected a statistical probability theory of standing that relied

on the likelihood that “some of [the Sierra Club’s 700,000] members are


4The district court’s standing analysis would effectively provide doctors
with an atextual exception to Article III’s case-or-controversy
requirements. See Gov. Br. at 28-29 (highlighting that an association of
doctors could challenge licensing of federal firearms dealers). But the
misguided logic is not limited to claims asserted by medical professionals.
Assume a school district issues a set of procedures around pupil
suspensions and expulsions. No students (or their parents) challenge
those procedures on due process grounds. Nevertheless, a group of
schoolteachers from a neighboring school district files a lawsuit alleging
due process violations, asserting that they fear (1) more students will be
suspended or expelled from the nearby school district; (2) students will
then enroll in their school district; and (3) the teachers will then need to
divert time and resources away from other students.

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threatened with concrete injury.” 555 U.S. 488, 497 (2009). In fact, the

Court stated that such a concept “would make a mockery of our prior

cases, which have required plaintiff-organizations to make specific

allegations establishing that at least one identified member had suffered

or would suffer harm.” Id. The stay panel’s sleight of hand cannot avoid

clear precedent foreclosing this theory of standing.5

                 3.    Facts relied upon are clearly erroneous.

     Key facts relied upon to find standing were clearly erroneous. See

Sepulvado v. Jindal, 729 F.3d 413, 417 (5th Cir. 2013) (“[T]he district

court’s findings of fact are subject to a clearly-erroneous standard of

review.”) (internal quotation omitted). Relying principally on the

testimony of Dr. Ingrid Skop, the stay panel concluded that the

availability of mifepristone requires an “irreconcilable choice between

performing their jobs and abiding by their consciences.” ROA 4393. But



5 The stay panel’s analysis also lacks statistical sense. Arguing that “it’s
inevitable that one of the thousands of doctors in plaintiff associations
will,” ROA 4395, see a patient with complications from mifepristone, the
stay panel did not interrogate the underlying facts. One of the plaintiff
organizations has 7,000 members worldwide, but not all of its members
are necessarily practicing physicians and not all of them are in the
United States. The Stay Panel overcounted both the extent of
complications requiring physician intervention and the physicians
currently practicing in the U.S. and represented in this litigation.

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Dr. Skop—or any other doctor—does not need to violate her conscience.

See, e.g., 42 U.S.C. §§ 238n, 300a-7(c) & (d) (federal conscience

protections). She is not required to perform an abortion against her will,

and her testimony shows just that. The closest her testimony comes to

that contention is that once she performed a “suction aspiration

procedure” to remove “pregnancy tissue.” ROA 4393. But this procedure

was needed only to “resolve [the patient’s] complications,” id., and that is

a procedure commonly used after a miscarriage. Certainly, Dr. Skop does

not   object   to   treating   patients       who      experience    spontaneous

miscarriages.6

      The district court relied on discredited research to assert that

psychological harm from abortions made these patients less likely to

assert their interests in court. ROA 4317. The district court’s reliance on

Priscilla Coleman was clearly erroneous, as her research falls outside of

the mainstream of the scientific academy and her opinions have been

found to be unreliable by both state and federal courts. See, e.g., Adams

& Boyle, P.C. v. Slatery, 494 F. Supp. 3d 488, 538 (M.D. Tenn. 2020);


6The district court reached a similar conclusion that members of the
plaintiffs’ associations would be forced to perform an abortion. ROA 4313-
4. This is both unsupported by the record and not factually accurate.

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Planned Parenthood of Indiana & Kentucky, Inc. v. Comm’r, Indiana

State Dep’t of Health, 273 F. Supp. 3d 1013, 1036 (S.D. Ind. 2017). Based

on another study, the district court made assertions about lack of

informed consent. Yet that entire sample consists of anonymous blog

posts on a website designed for women who regret their abortions. ROA

4314. In fact, longitudinal studies have found that people who are denied

abortions—including access to medication abortion—are more likely to

experience psychological harms.7

                 4.    Plaintiffs’ chief complaint is not cognizable.

     Plaintiffs’ chief complaint—avoiding care for certain types of

patients—is not cognizable. Caring for patients is what doctors do. They

do not get to choose which complications they like or do not like. They

may not care for the choices their patients make, but their obligation to

provide care exists nonetheless.8 Patients may be smokers, not exercise,


7 See, e.g., Corinne H. Rocca et al., Emotions and decision rightness over
five years following an abortion: An examination of decision difficulty and
abortion stigma, Social Science and Medicine (2020); Antonia Biggs et al.,
Perceived abortion stigma and psychological well-being over five years
after receiving or being denied an abortion, PLoS ONE (15)(1), (Jan. 29,
2020).
8American Medical Association, Principles of Medical Ethics, 1.1.2
Prospective Patients, https://www.ama-assn.org/system/files/code-of-


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drink excessively, or make many other choices about their lives and their

health that a doctor might not agree with. But when a patient arrives

seeking care, it must be provided. See, e.g., 42 U.S.C. § 1395dd (requiring

the provision of appropriate screening and stabilizing treatment when

any patient arrives at an emergency department and requests treatment)

(emphasis added). Plaintiffs’ assertion of “stress and pressure” in

treating patients experiencing side-effects from mifepristone is not

distinct from the stress and pressure they might experience in any other

case.

             B.    Plaintiffs ’Claims Are Not Redressable In This
                   Litigation.

        The district court also clearly erred by concluding that plaintiffs’

claims are redressable. See ROA 4322-23 (“Redressability is satisfied

even if relief must filter downstream through third parties uncertain to

comply with the result.”). Plaintiffs have failed to establish “a substantial

likelihood that the requested relief will remedy the alleged injury in fact.”

Denning v. Bond Pharmacy, Inc., 50 F.4th 445, 451 (5th Cir. 2022)


medical-ethics-chapter-1.pdf. (“Physicians must also uphold ethical
responsibilities not to discriminate against a prospective patient on the
basis of… other personal or social characteristics that are not clinically
relevant to the individual’s care.”).

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(concluding award of damages to the patient would not redress the

insurer’s injury of being subjected to unauthorized billing practices).

Here, there are at least three core flaws in any assessment that plaintiffs’

claims are redressable.

      First, eliminating or impairing access to mifepristone will not end

medication    abortions—and      may cause          more patients        to suffer

complications. A two-medicine regimen comprising of mifepristone and

misoprostol is safe, effective, and the most common means of providing a

medication abortion in the United States. But patients can also

terminate pregnancies by taking misoprostol alone. The availability of a

misoprostol-only abortion protocol undercuts plaintiffs’ assertion that

their “injury” can be redressed by limiting patients’ access to

mifepristone. Put simply: if plaintiffs prevail in this lawsuit, it will result

in many more misoprostol-only medication abortions. And side effects

from misoprostol-only abortions that could lead to patients seeking

additional medical care are (if anything) more frequent and severe than

abortions that involve mifepristone (though still quite infrequent).9



9See, e.g., Elizabeth G. Raymond, Efficacy of Misoprostol Alone for First-
Trimester Medical Abortion: A Systematic Review, Obstet Gynecol. 2019


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      Moreover, the harms about which plaintiffs complain are not fairly

traceable to mifepristone itself—and they are certainly not specifically

traceable to the FDA’s post-2016 actions—but are connected to the small

chance of complications from pregnancy termination generally. A “win”

for plaintiffs in this lawsuit will therefore not redress plaintiffs’ asserted

“injury” of caring for patients with medication-abortion complications. To

the contrary, it may exacerbate that injury. See Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 413 (2013) (injury must be fairly traceable to the

complained-of conduct).

      Second, the stay panel was mistaken when it asserted the REMS

from 2016 and beyond “all empower non-doctors to prescribe mifepristone

and thus shift the costs of the drug onto the plaintiff physicians who must

manage the aftermath.” ROA 4395. Relying on the testimony of Dr.

Nancy Wozniak, the stay panel focused on the fact that patients receiving

care from providers other than doctors causes more complications. Not

so. In fact, in the specific example cited by the stay panel, Dr. Wozniak

stated: “The woman was given mifepristone by the doctor at Planned




Jan; 133(1): 137–147, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC63
09472/.

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Parenthood.” ROA 4392. (emphasis added). The distinction drawn by the

stay panel was not grounded in science or the factual record. In fact, there

is no evidence that a successful outcome in the case will result in fewer

patients for plaintiffs to treat.

      Third, plaintiffs’ diversion-of-resources theory is undercut by the

fact that more pregnant people experience complications as a result of

childbirth than those who have abortions. 10 Mifepristone is eminently

safe and used by millions of people across the country. Plaintiffs may

prefer to help patients who are experiencing complications from

childbirth (or other medical issues). But that is not about diversion of

resources. The removal of mifepristone from the market (or its reduction

in usage) will not change plaintiffs’ need to treat patients, nor will it

reduce   the   number      of   patients      experiencing     pregnancy-related

complications. The district court’s fundamental error in failing to analyze

redressability is reason alone to reverse.




10 See, e.g., Elizabeth Raymond, et al., The comparative safety of legal
induced abortion and childbirth in the United States, Obstet. Gynecol.,
215-19      (Feb.    2012),  http://unmfamilyplanning.pbworks.com/w/
file/fetch/119312553/Raymond%2520et%2520al-
Comparative%2520Safety.pdf.

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      II.   PLAINTIFFS DELAY IN SEEKING AN INJUNCTION
            UNDERMINES THE ISSUANCE OF A STAY AS A
            MATTER OF LAW

      The district court abused its discretion by granting preliminary

relief despite the two-decades-long delay between the initial approval of

this drug and this litigation. Plaintiffs spent years waiting to take action.

Delays by plaintiffs of far shorter duration have regularly undermined

their requests for preliminary relief. See, e.g., Benisek v. Lamone, 138 S.

Ct. 1942, 1944 (2018) (“a party requesting a preliminary injunction must

generally show reasonable diligence”). Delays within the plaintiffs’

control often eliminate the availability of this extraordinary remedy. See

Charles Alan Wright & Arthur R. Miller, et al., 11A Federal Practice &

Procedure § 2948.1 (3d ed., Apr. 2017 update). Decisions from district

courts across Texas repeatedly have reached a similar conclusion in far

less extenuating circumstances. See, e.g., Crossover Mkt. LLC v. Newell,

A-21-CV-00640-JRN, 2022 WL 1797359, at 1-2 (W.D. Tex. Jan. 12, 2022)

(collecting cases).

      Moreover, preliminary relief is supposed to maintain the status

quo—which, in this case, is the availability and general accessibility of

mifepristone nationwide. See Univ. of Texas v. Camenisch, 451 U.S. 390,



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395 (1981) (“The purpose of a preliminary injunction is merely to preserve

the relative positions of the parties until a trial on the merits can be

held.”). Instead, plaintiffs seek to avail themselves of a change in legal

circumstances—the overturning of Roe v. Wade—as the basis for this new

relief on old government action. To the extent the complained-of harms

relating to mifepristone exist (which they do not), they would have

existed long before plaintiffs instituted suit. Nothing in the record

excuses this delay or allows for the issuance of a preliminary relief.11 By

granting it, the district court abused its discretion.

     III. THE DISTRICT COURT IMPROPERLY
          SUBSTITUTED ITS JUDGMENT FOR THE
          SCIENTIFIC EVALUATIONS OF AN EXPERT
          AGENCY

     The district court substituted its own judgment for the scientific

evaluation of an expert agency, as well as an established track record of

safety for mifepristone. This is not just disfavored but constitutes




11In a recent order issued by the Supreme Court, Justice Alito (writing
in dissent of the denial of a stay) noted that a lack of diligence can
significantly undermine a request for emergency relief. West Virginia v.
B.P.J., 598 U. S.      (2023), No. 22A800 (“And it is a wise rule in general
that a litigant whose claim of urgency is belied by its own conduct should
not expect discretionary emergency relief from a court.”) (Alito, J.,
dissenting).

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reversible error. See, e.g., Food & Drug Admin. v. Am. Coll. of

Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021) (“[C]ourts owe

significant deference to the politically accountable entities with the

background, competence, and expertise to assess public health.”)

(Roberts,   C.J.,   concurring)   (internal       citations    omitted);    Cytori

Therapeutics, Inc. v. Food & Drug Admin., 715 F.3d 922, 927 (D.C. Cir.

2013) (Kavanaugh, J.) (“A court is ill-equipped to second-guess that kind

of agency scientific judgment under the guise of the APA’s arbitrary and

capricious standard.”); Otsuka Pharm. Co. v. Burwell, 302 F. Supp. 3d

375, 403 (D.D.C. 2016) (Jackson, J.) (“To begin with, the FDA is an expert

agency charged with making precisely these sorts of highly technical

determinations, and its interpretation . . . is premised on ‘the agency’s

evaluations of scientific data within its area of expertise.’”), aff’d sub

nom., Otsuka Pharm. Co. v. Price, 869 F.3d 987 (D.C. Cir. 2017). This

Court has recently affirmed this exact point. Sierra Club v. EPA, 939 F.3d

649, 680 (5th Cir. 2019) (“A reviewing court must be ‘most deferential’ to

the agency where, as here, its decision is based upon its evaluation of

complex scientific data within its technical expertise.”).




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     The district court abused its discretion by failing to defer to the

agency expert in evaluating the complex scientific data at issue here. To

turn access to care on its head and create confusion in the marketplace

requires far more than what the district court’s analysis amounts to.

Reliance on self-interested affidavit testimony, unscientific web postings,

and spurious and discredited journal articles should not be enough to

override years-long, deliberative, and expert decision-making. But those

unreliable factual inputs are what the district court relied on when it

replaced the FDA’s nearly three decades of evidence-based scientific

review with its own.

     The Supreme Court has criticized such a lack of judicial modesty

before. See, e.g., Food and Drug Administration v. American College of

Obstetricians and Gynecologists, 141 S. Ct. 10, 12 (2020) (“Nevertheless,

a District Court Judge in Maryland took it upon himself to overrule the

FDA on a question of drug safety.”) (Alito, J., dissenting from holding of

request for stay in abeyance). Here, the district court, demonstrating

little regard for science or evidence, has imperiled the lives and health of

our residents by threatening approval of mifepristone and many other

drugs in medicine cabinets as far away as Alaska.



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     The court’s decision has also undermined amici’s confidence in the

federal court system. This is significant. Amici rely on the courts as

neutral arbiters of disputes—both large and small—covering a range of

matters from employment to property to torts and contracts. We

frequently litigate as both plaintiffs and defendants in courts, including

the federal courts. Most of our cases do not receive significant attention,

but they are important to us and the litigants, and to our broader

communities. Having a court system that has public confidence is crucial

to allowing us to conduct our business and resolve our disputes. The

district court’s raw exercise of power was an abuse of discretion that

erodes amici’s faith in the federal judiciary.

     IV.   THE GRANT OF A STAY DISSERVES THE PUBLIC
           INTEREST

     The    district court’s   determinations, if          upheld, will         cause

immeasurable harm to amici and our residents. Intervenor-Appellant

manufacturer Danco explains that the district court has ordered

mifepristone off the market while this case proceeds. And, later, once this

case is finally resolved, the harms that will have flowed to Danco from its

inability to distribute its sole product for this period of time will already




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have led the company to close its doors, permanently eliminating access

to the drug nationwide. Danco Br. 56-58.

     Disruption in access to mifepristone will be                    devastating,

particularly for those of our residents living in rural areas or otherwise

underserved by medical facilities and doctors. Some of our communities

not only lack access to adequate medical care, they are also home to

populations with maternal mortality rates twice those in other

communities. Access to timely, high-quality, effective therapeutic care

like mifepristone is essential in these communities for treating

miscarriage and reducing bleeding or life-threatening hemorrhaging or

other serious pregnancy and reproductive health complications. 12 One

community is so remote and has such high rates of life-threatening

hemorrhage from miscarriages that it requires, on average, one medevac

a week. Mifepristone is frequently administered in that community for


12 See Yanxia Cao et al., Efficacy of Misoprostol Combined with
Mifepristone on Postpartum Hemorrhage and its Effects on Coagulation
Function, 13 INT. J. CLIN. EXP. MED. 2234 (Apr. 30, 2020); Mara
Gordon & Sarah McCammon, A Drug that Eases Miscarriages is Difficult
for Women to Get, NPR (Jan. 10, 2019), https://www.npr.org/sections/
health-shots/2019/01/10/666957368/a-drug-that-eases-miscarriages-is-
difficult-for-women-to-get; Y. X. Zhang, Effect of Mifepristone in the
Different Treatments of Endometriosis, CLIN. AND EXP. OBSTET. &
GYNECOL. 350 (2016).

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miscarriage management and is an essential tool for keeping emergency

incident numbers down.13

     Without mifepristone, the millions who wish to end unwanted or

unviable pregnancies with safe and effective mifepristone may turn to

drastic and more dangerous alternatives. Others will have to undergo

more invasive, riskier, and later-gestational age procedural abortions,

which can carry higher risks. Others still will delay care, leading to more

complications, worse health outcomes, and greater strain on local

governments and medical providers. The unavailability of mifepristone

for various reproductive health conditions (or the greater burden in

dispensing it) will strain provider availability, exacting enormous costs

on amici’s healthcare systems.

     The FDA’s most recent evidence-based decisions to reduce the

number of clinical visits from three to one and allow non-physician health


13Honor Macnaughton, Melissa Nothnagle & Jessica Early, Mifepristone
and Misoprostol for Early Pregnancy Loss and Medication Abortion, 103
AM. FAM. PHYSICIAN 473 (2021); ACOG and the Society for Maternal-
Fetal Medicine, Practice Bulletin No. 10, 135(3) Obstetric Care
Consensus e110, e122 (2020); Marike Lemmers et al., Medical Treatment
for Early Fetal Death (Less Than 24 Weeks), COCHRANE DATABASE
SYSTEMATIC REVIEWS 25 (June 17, 2019); American College of
Obstetricians and Gynecologists, Practice Bulletin No. 200, Early
Pregnancy Loss (Nov. 2018).

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care providers to prescribe and dispense the drug had the potential to

reduce great disparities in healthcare delivery. These recent changes

were particularly meaningful to the rural, medically underserved, and

lower-income people in amici’s jurisdictions. But the district court’s and

stay panel’s orders would take us back in time and entrench us in a two-

tiered medical system, accessible only to those with the geography or

means to access healthcare despite higher burdens.

     Traveling back in time with respect to the availability and

dispensation of mifepristone will devastate reproductive healthcare in

the future, but the confusion created by the district court’s ruling has

disrupted some sectors of the healthcare system now. Last month—and

for almost 23 years prior—mifepristone was available for patient care. At

some point in the future when this appeal is resolved, access may be

disrupted or impaired. But maybe not, given that there is a conflicting

decision from a federal court in Washington that commands the FDA to

preserve the status quo on mifepristone—at least in the 17 states that

are party to that lawsuit and the District of Columbia. See Washington v.

FDA., No. 23-3026 (E.D. Wash. Apr. 7, 2023), ECF No. 80 (order granting

in part plaintiffs’ motion for preliminary injunction). Another order



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issued by that same court makes clear that its injunction remains in

effect “irrespective of the Northern District of Texas Court ruling or the

Fifth Circuit’s anticipated ruling.” Washington v. FDA, No. 23-3026,

(E.D. Wash. Apr. 13, 2023), ECF No.91 (order granting motion for

clarification).

      Beside the point that the FDA cannot comply with both the

Washington order and the district court’s injunction, questions are

proliferating. Appellant Danco explains that it has been inundated with

questions from certified providers, questions it is unable to answer. Will

access to mifepristone remain intact in some states and not others? In

those 17 states that are party to the Washington case, and those with

overlapping health systems (state, county, city, federal, tribal), will

anything change at all for their residents’ access to the drug? If the drug

itself becomes unavailable in the future, should they stock up now?

      In those 33 states that are not party to the Washington case,

providers and pharmacies query whether doses of mifepristone that have

already been acquired may be dispensed, and for how long. Health center

staff wonder how to plan for the influx of many more patients if

mifepristone cannot be obtained. FDA’s drug regulatory regime is



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designed to be national in scope. Upholding any part of the district court’s

opinion will result in incongruous implementation across amici’s

jurisdictions. The confusion and harm caused by the district court’s order

cannot be overstated. Without question, the public interest is not served

here by the issuance of an injunction.

                             CONCLUSION

     For the foregoing reasons and for the reasons provided by the

Appellants, Intervenor-Appellant, and their other amici, the Court

should reverse the district court’s order.

                                   Respectfully submitted,

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Dated: May 1, 2023




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             APPENDIX A — LIST OF AMICI

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              City of Birmingham, Alabama
                   City of Bethel, Alaska
              City of Boston, Massachusetts
               Bucks County, Pennsylvania
                  City of Cincinnati, Ohio
                  City of Cleveland, Ohio
                  City of Columbus, Ohio
      Dallas County, Texas Judge Clay Lewis Jenkins
           City and County of Denver, Colorado
                   City of Gary, Indiana
     Harris County, Texas Attorney Christian Menefee
               City of Kansas City, Missouri
      Kansas City, Missouri Mayor Quinton D. Lucas
               City of Little Rock, Arkansas
              City of Los Angeles, California
             County of Los Angeles, California
                City of Madison, Wisconsin
                County of Marin, California
              Milwaukee County, Wisconsin
              City of Minneapolis, Minnesota
              Montgomery County, Maryland
              City of Montgomery, Alabama
               City of Newark, New Jersey
           City of Northampton, Massachusetts
                City of Oakland, California
          Pima County Attorney’s Office, Arizona
            City of Philadelphia, Pennsylvania


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                 City of Pittsburgh, Pennsylvania
                      City of Portland, Oregon
                  City of Providence, Rhode Island
    City of Raleigh, North Carolina Mayor Mary-Ann Baldwin
                   City of Sacramento, California
                    City of San Diego, California
                   City of Santa Cruz, California
                  City of Santa Monica, California
                     City of St. Paul, Minnesota
            City of Tallahassee, Florida Commissioners
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                       City of Tucson, Arizona
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   Washtenaw County, Michigan Prosecuting Attorney’s Office
                City of West Hollywood, California!




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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure,

Joshua A. Rosenthal, counsel of record, hereby certifies that according to

the word count feature of the word processing program used to prepare

this brief, the brief contains 5,625 words and complies with the typeface

requirements and length limits of Rules 27, 29, and 32(a)(5)-(7) and the

corresponding local rules.



                                  /s/ Joshua A. Rosenthal
                                  Joshua A. Rosenthal
Dated: May 1, 2023




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